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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE
LITIGATION

M.D.L. No. 1456
Civil Action No. 01-12257-PBS

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MEMORANDUM AND ORDER
May 13, 2003
Saris, U.S.D.J.
I. INTRODUCTION
In this proposed class action, plaintiffs allege that
numerous pharmaceutical companies fraudulently overstate the
published “average wholesale price” ("AWP") of many of their
prescription drugs, which results in inflated payments for such
drugs by beneficiaries of the federal Medicare Part B program
(through beneficiary co-payments), private health and welfare

plans, and other end-payors.?

} The complaint names the following companies as

defendants (corporate groupings are separated by semicolon):
Abbot Laboratories; Amgen, Inc.; "AstraZeneca," which includes,
Zeneca, Inc., AstraZeneca US, and AstraZeneca Pharmaceuticals
L.P.; "The Aventis Group," which includes, Aventis
Pharmaceuticals, Inc., Hoechst Marion Roussel, Inc., and Aventis
Behring, LLC,; "Baxter," which includes, Baxter International
Inc. and Baxter Healthcare Corporation; Bayer Corp.; "The
Boehringer Group," which includes, Boehringer Ingelheim Corp, Ben
Venue Laboratories, Inc., and Bedford Laboratories; B. Braun

Medical Inc.; "The BMS Group" which includes, Bristol-Myers
Squibb Co., Oncology Therapeutics Network Corp., and Apothecon,
Inc.; Dey, Inc.; "The Fujisawa Group" which includes, Fujisawa

Healthcare, Inc. and Fujisawa U.S.A., Inc.; "The GSK Group" which

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The Master Consolidated Complaint asserts claims under the
federal Racketeer Influenced and Corrupt Organizations Act
(“RICO”), 18 U.S.C §§ 1964(c) (Counts I-IV), and the consumer
protection statutes of California, Delaware, Florida, Illinois,
Louisiana, Minnesota, New Jersey, New York, Pennsylvania, Texas,
and Washington (Count V). Plaintiffs also seek declaratory
relief on the claim that reporting AWPs above the actual average
wholesale price for various drugs is unlawful. (Counts VI and
VII.)* The plaintiffs bring this action on behalf of themselves
and two Classes: Class One, the Medicare Part B co-payor class,’

and Class Two, the third-party payor class.?

includes, GlaxoSmithKline, P.L.C., SmithKline Beecham Corp., and
Glaxo Wellcome, Inc.,; Hoffman-La Roche, Inc.; Immunex Corp.;
"The Johnson & Johnson Group" which includes, Johnson & Johnson,
Centocor, Inc. and Ortho Biotech; Merck & Co., Inc.; Pfizer,
Inc.; "The Pharmacia Group" which includes, Pharmacia Corp. and
Pharmacia & Upjohn, Inc.; "The Schering-Plough Group" which
includes, Schering-Plough Corp. and Warrick Pharmaceuticals
Corp.; "The Sicor Group," which includes, Sicor, Inc., Gensia,
Inc., and Gensia Sicor Pharmaceuticals, Inc.; and Watson
Pharmaceuticals, Inc.

° The Judicial Panel on Multidistrict Litigation ordered
all related cases transferred to this District for coordinated
and consolidated pre-trial proceedings.

; Class One includes: "All persons or entities who, for
purposes other than resale and during the Class Period, paid for
the purchase of a prescription drug manufactured by a Defendant
Drug Manufacturer, which payment constituted a contribution
toward the Medicare Part B co-payment.” ({ 333.) Counts I and
II assert claims on behalf of Class One members only with respect
to Medicare Part B covered drugs.

4 Class 2 Two includes: "All Third-Party Payors that,
during the Class Period, contracted with a PBM or other

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Acknowledging that their AWPs represent only “undiscounted
sticker prices,” and not actual average wholesale prices,
defendants have jointly moved to dismiss on the following
grounds: (1) that the court should abstain because this dispute
involves a legislative question; (2) that the plaintiffs fail to
allege viable RICO enterprises; and (3) that the state law claims
are preempted by the Medicare Act, 42 U.S.C. § 1395-1395qqq, and
the Employee Retirement Income Security Act (“ERISA), 29 U.S.C. §
1001-1461. Individual defendants have raised company-specific
grounds for dismissal.

After hearing and extensive briefing, the Court ALLOWS the
motion to dismiss the RICO claims and DENIES the motion to
dismiss the state claims on preemption grounds. The Court also
dismisses (1) all the association plaintiffs on the ground they
lack standing, (2) all claims regarding drugs that are not
identified by name with a specified fraudulent AWP, and (3)
certain companies from which no plaintiff claims to have
purchased a drug with an inflated AWP. The dismissal will go

into effect in 30 days if there is no motion to amend.

intermediary to, based on a "discount" off of AWP, provide to its
participants a brand name prescription drug manufactured by a
Defendant Drug Manufacturer." (4333) Counts III and IV are
brought on behalf of Class Two members against some of the
defendants for unlawful conduct associated with brand name
prescription drugs.

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II. STANDARD OF REVIEW
Generally, for purposes of a motion to dismiss the Court
takes as true “the well-pleaded facts as they appear in the
complaint, extending [the] plaintiff[s] every reasonable

inference in [their] favor.” Coyne v. City of Somerville, 972

F.2d 440, 442-43 (lst Cir. 1992) (citing Correa-Martinez v.

Arrillaga- Belendez, 903 F.2d 49, 51 (1st Cir. 1990)). A

complaint should not be dismissed under Fed. R. Civ. P. 12(b) (6)
unless “'it appears beyond doubt that the plaintiff[s] can prove
no set of facts in support of [their] claim which would entitle

[them] to relief.'” Roeder v. Alpha Indus., Inc., 814 F.2d 22,

25 (lst Cir. 1987) (quoting Conley v. Gibson, 355 U.S. 41, 45-46
(1957)). As to the RICO claims, the Court is mindful of the
First Circuit’s instruction that while “the pleadings should
generally be construed liberally ... a greater level of

specificity is required in RICO cases.” Bessette v. Avco Fin.

servs., Inc., 230 F.3d 439, 443 (1st Cir. 2000) (citing Garita

Hotel Ltd. P'ship v. Ponce Fed. Bank., 958 F.2d 15, 17 & n. 1

(lst Cir. 1992)).
IIIT. FACTUAL BACKGROUND
The consolidated class action complaint alleges the
following facts, many of which are in dispute.

Medicare is the federal insurance program that pays for the

medical care of persons 65 and older. ee 42 U.S.C. §§ 1395 -

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1395qqq. The Medicare program is administered by the Center for
Medicare and Medicaid Services ("CMS"), which is under the
authority of the Secretary of Health and Human Services.
Medicare Part B establishes an insurance program to pay for
physicians' services. See id. at §§1395j-1395w. Medicare
generally does not cover the cost of prescription drugs that a
beneficiary self-administers (for example, by swallowing the
drug). It does cover approximately 450 outpatient drugs,
including ones that are administered by a doctor, and certain
oral anti-cancer drugs. (Compl. q 143.)

Through the Medicare Part B program, the federal government
reimburses health care providers, such as physicians, for up to
80 percent of the allowable cost of certain prescription drugs
that they administer directly to patients. The remaining 20
percent is paid by the Medicare Part B beneficiary, as a co-
payment. 42 U.S.C. § 13951(0); (Compl. 7 149.) The drug
reimbursement rates are based on “the lower of the actual charge
on the Medicare claim for benefits or 95 percent of the national
average wholesale price of the drug or biological.” 42 C.F.R. §
405.517; see also 42 U.S.C. § 1395u(o) (". . .the amount payable
for the drug or biological is equal to 95 percent of the average
wholesale price."),

In setting reimbursement rates, the Medicare program uses

the AWPs generated by the pharmaceutical industry. There are no

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regulations describing how AWPs are to be calculated, nor any
regulatory process for approving them. Pharmaceutical companies
do not report AWPs directly to the federal government, but
instead send their pricing information to independent publishing
companies that compile the data and publish the AWPs in trade
publications, which are then used by the government, as well as
private health plans.° The publishing companies do not
independently review the figures for accuracy. The figures are
not filed with the CMS.

The pharmaceutical companies vastly overstate the AWPs of
many drugs in the data they provide to the trade publications.
For example, for one drug called “Acyclovir,” defendant Abbott
Laboratories reports an AWP to the “Red Book” publication of
$1047.38, while the actual average wholesale price is only
$349.05. In some instances the reported AWP is more than 10,000
percent higher than the actual AWP. The following table, drawn
from the complaint (47 190), provides just a sampling of AWP

overstatements by Abbott:

5 The major publications include the Drug Topics Red Book

(the “Red Book), American Druggist First Databank Annual Director
of Pharmaceuticals, Essential Director of Pharmaceuticals (“the
Blue Book) and the Master Drug Database. These books report AWPs
for various dosages of thousands of prescription drugs.

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Abbott's 2001 noJ Determined
Drug Red Book Actual AWP Dif£ference Spread
AWP
Acetylcysteine $35.87 $21.90 $13.97 64%
Acyclovir $1,047.38 $349.05 $698.33 200%
Amikacin Sulfate $995.84 $125.00 $870.84 697%
Calcitriol (Calcijex) $1,390.66 §1,079.00 $311.66 29%
Cimetidine Hydrochloride $214.34 $35.00 $179.34 512%
Clindamycin Phosphate $340.52 $75.35 $265.17 352%
Dextrose $239.97 $3.91 $236.06 6,037%
Dextrose Sodium Chloride $304.38 $1.93 $302.45 15,671%
Diazepam $28.50 §2.03 $26.47 1,304%
Furosemide $74.52 $14.38 $60.14 418%
Gentamicin Sulfate $64.42 $.51 $63.91 12,531%
Heparin Lock Flush $38.30 $13.60 $24.70 182%
Metholprednisolone Sodium $34.08 $2.30 $31.78 1,382%
Succinate
Sodium Chloride $670.89 $3.22 $667.67 20, 735%
Tobramycin Sulfate $150.52 $2.94 $147.58 5,020%
Vancomycin Hydrochloride $382.14 $4.98 $377.16 7,574%

The complaint alleges by name more than 100 drugs, from numerous
pharmaceutical companies, with inflated AWPs.

This overstatement in the reporting creates a “spread,” as
seen in the table above, between the actual cost of a drug to a
health care provider, and the reimbursement paid to the provider
by the federal government. It also inflates the co-payments made
by consumers. Defendants actively market this “spread” to
providers, who are encouraged to buy drugs from defendants at the

highly “discounted” actual prices, and are urged to keep the

reimbursement and co-payment spreads for themselves. This

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practice increases sales and a drug manufacturer's market share
of the drug.

For some defendants, the AWP scheme is not the only
mechanism used to create the artificial “spreads.” Another
method involves the provision of “free samples” to health
providers who are sometimes encouraged to bill their customers
for the samples as they would any other drug. This “free sample”
scheme lowers the providers’ overall costs while not reducing the
amount they receive in reimbursements from the federal
government, or co-payments from consumers, which remain tied to
the reported AWPs. Other fraudulent pricing practices include
off-invoice pricing, phony consulting fees, as well as debt
forgiveness, rebates, and grants. All of these incentives were
designed to lower the providers' net cost of purchasing the
drugs.

Plaintiff union and employee health benefit plans contract
with drug plan managers, known as Pharmacy Benefit Managers
(“PBMs”), which operate as intermediaries between the
pharmaceutical companies and the private health plans. These
PBMs set prices on their formularies - their drug fee lists -
based on the AWP figures reported in the same trade publications
used by the Medicare program, less a certain percentage discount.

Again, defendants market the same pricing and reporting “spread”

to PBMs that they do to individual health care providers serving

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Medicare patients. The PBMs are offered drugs at highly
“discounted” actual prices while charging the private health
plans fees based on the inflated AWPs. The PBMs benefit by
keeping the “spread” for themselves and the pharmaceutical
companies benefit because PBMs are drawn to keeping on their
formularies drugs from those companies offering the most
lucrative “spreads.”
Iv. DISCUSSION

A. Prudential Abstention

Defendants concede that the “national average wholesale
price” figures upon which Medicare Part B reimbursements and co-
payments are based are not the actual average of wholesale prices
they charge for their drugs. Nonetheless, pointing to
legislative hearings and statements on AWPs, they contend that
Congress knows that the AWPs they report represent only an “un-
discounted sticker price” that has no direct relation to the
actual average price they charge for their drugs, and that
Congress has acceded to this widespread pricing and reporting

practice.®

6 Plaintiffs’ dispute defendants’ claim that the
government has acquiesced in defendants’ practices with respect
to AWPs. Most recently, plaintiffs have submitted as
“supplemental authority” a document prepared by the Department of
Health and Human Services, Office of the Inspector General,
titled “Compliance Program Guidance for Pharmaceutical
Manufacturers” (dated April 2003), which contains the following
statement: “[I]t is illegal for a manufacturer knowingly to
establish or inappropriately maintain a particular AWP if one

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Drawing on the policies underpinning the political question
doctrine, and urging “prudential abstention,” defendants argue
that it would be an unwarranted excursion into the legislative
domain for this Court to hold defendants’ practices unlawful when

Congress has acquiesced in these practices. See generally Warth

v. Seldin, 422 U.S. 490, 499-500, 95 S.Ct. 2197, 2205 (1975)
(discussing limitations on judicial intervention that involve

matters of "judicial self-governance."); Baker v. Carr, 369 U.S.

186, 210, 82 S.Ct. 691, 706 (1961) (noting that the political
question doctrine operates as a prudential limitation on the
courts review of other branches of government; it is “primarily a
function of the separation of powers”).

However, “not every matter touching on politics is a

political question.” Japan Whaling Ass'n v. Am. Cetacean Soca'y,

478 U.S. 221, 229-30, 106 S.Ct. 2860, 2865-66 (1986). “It goes
without saying that interpreting congressional legislation is a
recurring and accepted task for the federal courts.” Id.; see

also Bureau of Alcohol, Tobacco and Firearms v. Fed, Labor

Relations Auth., 464 U.S. 89, 98 n. 8, 104 S.ct. 439, 445 n. 8
(1983) (observing that “deciding what a statute means” is “the
quintessential judicial function”); United States v. 29 Cartons

of *** An Article of Food, 987 F.2d 33, 38 (1st Cir 1993) (same).

purpose is to manipulate the ‘spread’ to induce customers to
purchase its product.” Id. at 27.

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The fact that congressional hearings have been held,
congressional reports generated, and executive branch statements
on the AWP issued, without follow-up legislative action,’ does
not mandate judicial retreat from this heartland task of

construing statutory language. Cf. Schneidewind v. ANR Pipeline

Co., 485 U.S. 293, 306, 108 S.Ct. 1145, 1154 (1988) (indicating
"reluct [ance] to draw inferences from Congress' failure to
act.").

The primary authority on which defendants rely for their

prudential abstention argument, Stephenson v. Shalala, 87 F.3d

350 (9th Cir. 1996), is not on point. In Stephenson, the Ninth

Circuit upheld the Secretary's interpretation of a statutory
provision that health providers charge certain Medicare hospital
patients a reasonable fee, relying, in part, on Congressional
acquiescence in her interpretation. Id. at 356-57. The

Stephenson Court exercised its duty to interpret the statute at

issue there by applying appropriate cannons of construction: the
case is not an example of a court abstaining from statutory

construction. See id.

? Defendants make much of the fact that Congress enacted

legislation barring the Secretary of Health and Human Services
from "directly or indirectly decreas[ing] the rates of
reimbursement" for drugs covered by Part B until the Comptroller
General studied the issue of medical drug reimbursement,
Medicare, and Medicaid and Benefits Improvement and Protection
Act of 2000 ("BIPA"), Pub. L. No. 106-554, §429(c), 114 Stat.
2763 (2000). However, the study was completed in September 2001.

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I decline to dismiss the action on prudential abstention
grounds.

B. RICO Allegations

1. The Enterprise Requirement

Plaintiffs allege that defendants engaged in a pattern of
racketeering activity by accomplishing the fraudulent AWP pricing
scheme through the use of interstate mails and wire
communications in violation of 18 U.S.C. § 1962(c).® Defendants
argue that the RICO claims must be dismissed because plaintiffs
do not allege a viable RICO enterprise.’

To state a RICO claim under § 1962(c), a plaintiff must
allege four elements: "(1) conduct; (2) of an enterprise; (3)

through a pattern; (4) of racketeering activity.” See Libertad

v. Welch, 53 F.3d 428, 441 (1st Cir. 1995).

§ 18 U.S.C. § 1962(c) provides:

Tt shall be unlawful for any person employed
by or associated with any enterprise engaged
in, or the activities of which affect,
interstate or foreign commerce, to conduct or
participate, directly or indirectly, in the
conduct of such enterprise's affairs through
a pattern of racketeering activity

° Defendants also argue that the claims should be

dismissed because plaintiffs cannot demonstrate violations of the
mail and wire fraud statutes, and because the plaintiffs’
injuries were not caused directly by the conduct of any of the
defendants. However, I do not discuss these arguments in light
of the dismissal for failure to allege an enterprise.

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The term "enterprise" is defined by the statute:
“enterprise” includes any individual,
partnership, corporation, association, or
other legal entity, and any union or group of
individuals associated in fact although not a
legal entity.
18 U.S.C § 1961(4). In interpreting the RICO “enterprise”
requirement, the Supreme Court has explained that “[t]here is no
restriction upon the associations embraced by the definition: an

enterprise includes any union or group of individuals associated

in fact.” United States v, Turkette, 452 U.S. 576, 580, 101

§8.Ct. 2524, 2527 (1981). The enterprise concept is not
unbounded, however, because an enterprise must be “an entity for
present purposes a group of persons associated together for a
common purpose of engaging in a course of conduct.” Id. at 583,
101 S.Ct. at 2528 (emphasis added). An enterprise is "proved by
evidence of an ongoing organization, formal or informal, and by
evidence that the various associates function as a continuing
unit." Id. “While ‘enterprise’ and ‘pattern of racketeering
activity’ are separate elements of a RICO offense, proof of these
two elements need not be separate or distinct but may in fact

‘coalesce.’” United States v. Patrick, 248 F.3d 11, 19 (lst Cir.

2001) (citing Turkette, 452 U.S. at 583, 101 S.Ct. at 2528).
"[T]lwo or more legal entities can form or be part of an
association-in-fact RICO enterprise.” (first emphasis added)

United States v. London, 66 F.3d 1227, 1243 (lst Cir. 1995); see

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also River City Markets, Inc, v, Fleming Foods West, Inc., 960

F.2d 1458, 1462 (9th Cir. 1992) (“Virtually every business
contract can be called an ‘association in fact.’”); VNA Plus,

Inc. v. Apria Healthcare Group, Inec., 29 F. Supp.2d 1253, 1259

(D. Kan, 1998) (“It is well established that no formal legal
entity is required to create a RICO enterprise -- an informal
association between two contracting businesses will suffice.”);

cf£. Cedric Kushner Promotions v. King, 533 U.S. 158, 163, 121

S.Ct. 2087, 2091 (2001) (an association-in-fact enterprise can be
comprised of only a corporation and its principal owner).

To make a claim out under RICO, the First Circuit has
"consistently held that the same entity cannot do ‘double duty'
as both the RICO Defendant and the RICO Enterprise." Libertad,
53 F.3d at 442 (citing Miranda v. Ponce Fed. Bank, 948 F.2d 41,
44-45 (lst Cir. 1991)); see also Cedric Kushner Promotions, 533
U.S. at 161, 121 S.Ct. at 2090 (2001) (holding that the same
party cannot serve as both the RICO defendant and the RICO
enterprise).

Some circuits have held that a RICO enterprise must exhibit
an “‘ascertainable structure distinct from that inherent in the
conduct of a pattern of racketeering activity.’” Patrick, 248

F.3d at 18 (quoting United States v. Bledsoe, 674 F.2d 647, 665

(8th Cir. 1982)). The First Circuit, however, has declined to

define a criminal enterprise under 18 U.S.C. § 1962(c) as

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requiring an ascertainable structure. See Patrick, 248 F.3d at

18. Instead, to establish an association in fact enterprise,
plaintiff must show that the associated groups "constitute a
larger unit, over and above their separate structures and
operations." Libertad, 53 F.3d at 442,

The First Circuit has considered several factors in
determining whether a RICO association-in-fact enterprise has
been properly asserted: (1) whether the associates have a common
purpose, see id, at 442-443; (2) whether there is "systematic
linkage, such as overlapping leadership, structured or financial
ties or continuing coordination," id. at 443; (3) whether there
is a common communication network for sharing information on a
regular basis, see id. at 444; (5) whether the associates hold
meetings and sessions where important discussions take place, see
Patrick, 248 F.3d at 19; (6) whether the associates wear common
colors, signs or insignia to make the group identifiable, see
id.; and (7) whether the group conducted common training and
instruction, see id. None of these factors is dispositive.

2. The AWP Enterprises ("TW 346-350)

Plaintiffs allege twenty-one separate “AWP Enterprises, ”
each consisting of a single defendant pharmaceutical company and
all the medical providers that prescribe its drugs with a

reported AWP. The complaint describes these enterprises as

“associations-in-fact consisting of (a) various and independent

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medical providers who prescribed Covered Drugs for which a
Defendant Drug Manufacturer reported an AWP, and (b) a Defendant
Drug Manufacturer, including its directors, employees, and
agents.” (Compl. {— 346.) As one example of this type of
enterprise, it alleges “The Abbott Provider Enterprise is an
association-in-fact consisting of the various and independent
medical providers who prescribed Covered Drugs for which Abbot
reported an AWP, and Defendant Abbott, including its directors,
employees and agents.” (q{ 350.) The providers are those who
sought co-payments from members of Class One (¢ 347.) Further,
the providers, according to the complaint, are aware not only of
the drug manufacturers' scheme, but are also "aware of the
involvement of other similarly-situated providers in that
fraudulent and unlawful scheme." (qf 348.)

Plaintiffs essentially allege that each enterprise takes a
hub-and-spoke design, with an individual drug manufacturer at the
center dealing independently with each individual provider as the
spoke. Put another way, plaintiffs allege that a doctor in
Massachusetts and a doctor in Minnesota are part of the same RICO
enterprise if they both prescribe Abbot's drug Acyclovir and
collect a co-payment based on its AWP. The common purpose,
according to plaintiffs, is that universal elixir -- greed.

Defendants argue that this hub-and-spoke configuration fails

to allege a RICO enterprise. In an analogous context, the

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Supreme Court has rejected a similar alleged hub-and-spoke
conspiracy which had a pattern of separate spokes meeting at the

common center without "the rim of the wheel to enclose the

spokes." See Kotteakos v. United States, 328 U.S. 750, 769, 66

S.Ct. 1239, 1250 (1946) (holding that hub-and-spoke conspiracy in
which one person arranged fraudulent loans from the Federal
Housing Authority for eight different people constituted not one
but eight separate conspiracies, each requiring its own proof for
conviction). The Court cautioned against confusing "the common
purpose of a single enterprise with the several, though similar,
purposes of numerous separate enterprises of like character."
Id.

Most courts have found that complaints alleging hub-and-

spoke enterprises fail to satisfy the RICO enterprise

requirement. See VanDenBroeck v. CommonPoint Mortg. Co., 210

F.3d 696, 700 (6th Cir. 2000) (rejecting a RICO enterprise
involving defendant bank and a series of sub-lenders with whom
the bank associated, because there were no allegations of a
mechanism by which this group "conducted its affairs or made

decisions”); New York Auto. Ins. Plan v. All Purpose Agency &

Brokerage, Inc., 97-CV-3164, RICO Bus. Disp. Guide 9611, 1998 WL

695869 at *6 (S.D.N.Y. Oct. 6, 1998) (rejecting a hub-and-spoke

enterprise in which auto-insurer conspired with individual

clients to provide them lower insurance rates, without any

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evident association between the clients; stating "Such a series
of discontinuous independent frauds is not an ‘enterprise.’ Each

is a single two-party conspiracy.”); First Nationwide Bank v.

Gelt Funding, Corp., 820 F.Supp. 89, 98 (S.D.N.Y. 1993) (holding

that hub-and-spoke scheme is not an enterprise); Blue Cross and

Blue Shield of Ala. v. Caremark, Inc., 98-CV-1285, RICO Bus.

Disp. Guide 9828, 1999 WL 966434 at *8 (N.D. Ili. 1999)
(rejecting enterprise theory in RICO insurance-fraud claim
involving health providers because “[p]llaintiffs fail to allege
how this large and geographically diverse group of almost 3,000
independent physicians and entities acted in concert with one

another .. . . there is no indication that the individual

[providers] were even aware of each other’s existence.”); Blue

Cross of Cal. v. Smithkline Beecham Clinical Labs., Inc., 62 F.

Supp.2d 544, 551-53 (D. Conn. 1998) (rejecting proposed
enterprise consisting of insurer and, among others, thousands of
doctors, where there was no evidence doctors were even aware of

alleged kickback scheme). But see Fidelity Funding of Cal., Inc.

v. Reinhold, 79 F.Supp.2d 110, 126 (E.D.N.Y. 1997) (“[Plaintiff]

has alleged in it’s Complaint a ‘hub-and-spoke’ arrangement,
where Micro and Maxum served as the twin hubs and other
defendants . . . served as the spokes. Whether or not this

alleged arrangement adequately constitutes a non-RICO

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conspiracy . . . it is sufficient to constitute a RICO
enterprise.”).

Plaintiffs rely heavily on In re Managed Care Litigq., 185 F.

Supp.2d 1310 (S.D. Fla. 2002). There the plaintiffs alleged
several enterprises consisting of each of the defendant managed
care insurance companies together with “the [d]efendant’s health
plans, and the primary physicians, medical specialists, medical
laboratories, hospitals, outpatient centers, pharmacies, [and]
home health agencies who contract with the [d]efendant.” Id. at
1323. The district court found that a RICO enterprise existed
because these associates actually constituted a “network” of
inter-related health care providers, and moreover that the
defendants had promoted the association as a “network” to
plaintiffs, who complained of misrepresentations in their
insurance coverage. See id.

Here, however, plaintiffs have not alleged an association in
fact between a specific pharmaceutical company and a specific
medical care provider (or a specific network of providers), that
forms a continuing unit with a common purpose. Rather, they
assert a series of enterprises, each consisting of hundreds or
thousands of medical care providers whose only relationship to
each other is that they all prescribe a covered drug with an AWP.

Plaintiffs point out correspondence and other communications

among the members of each of these alleged AWP enterprises,

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including instructions from the pharmaceutical companies to the
doctors concerning how to facilitate and conceal the alleged
racketeering scheme. (See TI 161, 162, 175, 349.) Most of the
mass marketing documents concern efforts by the companies to
market “the spread” - between their actual prices and their
reported AWPs - directly to the individual providers. (See FJ
200, 213, 262, 296, 297, 303, 320, 349.) The documents as
described do not allege a network among all the members of these
alleged enterprises.

The complaint makes no allegation that all doctors who
prescribe a pharmaceutical company's drug have associated
together with each other and the drug company as an entity with a
common fraudulent purpose, or that there is any common
communication network, decision-making process, or organizational
structure. The allegation that each provider was aware that
there were likely other providers engaged in parallel schemes is
insufficient to establish an association-in-fact RICO enterprise.
In short, to use the Supreme Court's parlance, there was no rim
to connect the spokes. At best, there were multiple and separate
enterprises of like character. In sum, I conclude that
plaintiffs have failed to allege facts that establish the RICO
enterprise requirement through the “AWP Enterprises.”

3. Pharmacy Benefit Managers ("PBM") Enterprises
(WI 429-431)

Next, plaintiffs allege the existence of Pharmacy Benefit

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Manager Enterprises (“PBM Enterprises”), comprised of each
individual drug manufacturer and all the Pharmacy Benefit
Managers that exploit the “spread” between the reported AWPs and
the actual price of covered drugs. Sixteen different PBM
enterprises are named. Each of the PBM Enterprises is said to be
comprised of an individual drug company at the hub (i.e. Abbot,
Amgen, etc.) and a number of unnamed pharmacy benefit managers as
spokes. Again, however, the complaint fails to allege facts
which would support an entity consisting of all the PBMs joined
with a drug company in a common purpose.

4. Publisher Enterprises ("If 375-77, 402-404)

The “Publisher Enterprises” present an even weaker theory.
Plaintiffs allege that the Publisher Enterprises were
associations-in-fact comprised of each of the defendants and the
publishers that reported their AWPs. There is no allegation that
the publishing companies even benefitted from the “spread” scheme
other than by the profits generated for publishing data provided
to them. Again, plaintiffs identify each of these hub-and-spoke
enterprises by the name of a pharmaceutical company (e.g. “Abbot
Publisher Enterprise,” etc.) and claim that these enterprises
consist of the company and each of the major publishers that

reported the AWPs provided to them by the company as the spokes.

Twenty-one such enterprises are named. The same twin problems of

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connectedness and common purpose arise with respect to these
enterprises.

5. Third-Party Payor / Victim Enterprises
(W351, 378, 405, 432)

The Class Two plaintiffs allege that their employee health
benefit plans are "enterprises" which were victimized when they
made fraudulently inflated payments for drugs, based on
defendants’ falsely inflated AWPs. (q 359.) The third-party
payor plaintiffs are the Board of Trustees of Carpenters and
Millrights of Houston and Vicinity Welfare Trust Fund, Teamsters
Health & Welfare Fund of Philadelphia, Twin Cities Bakery Workers
Health and Welfare Fund, and United Food and Commercial Workers
Unions and Employees Midwest Benefits Funds. Plaintiffs contend
that these third-party payors satisfy the RICO enterprise
requirement because they are “victim enterprises.” This “victim
enterprise” theory requires a different legal analysis.

The major purpose of RICO is to protect legitimate business
enterprises from infiltration by racketeers. See Turkette, 452
U.S. at 591, 101 S.Ct. at 2532. The enterprise element may be
satisfied by alleging a legitimate enterprise that was victimized

by a racketeering scheme. See Aetna Cas. Sur. Co. v, P&B

Autobody, 43 F.3d 1546, 1558 (1st Cir. 1994) (holding that an
insurance company that was victim of racketeering activity
involving company insiders satisfied enterprise requirement of

RICO); United States v. Boylan, 898 F.2d 230, 243 (1st Cir. 1990)

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(finding that the Boston Police Department was a victim
enterprise because its affairs were interfered with through

racketeering in the form of bribes), cert. denied, 498 U.S. 849,

111 S.ct. 139 (1990).

To succeed in their RICO claim, however, plaintiffs must
show not just the existence of a victim-enterprise, but that
defendants “conduct[ed] or participat[ed], directly or
indirectly, in the conduct of such enterprises affairs through a
pattern of racketeering activity.” 18 U.S.C. 8 1962(c).

The Supreme Court has explained that “to conduct or
participate, directly or indirectly, in the conduct” of an
enterprise, “one must participate in the operation or management

of the enterprise itself.” Reves v. Ernst & Young, 507 U.S. 170,

185, 113 S.ct. 1163, 1173 (1993). “[R]ICO liability is not
limited to those with a formal position in the enterprise, but
some part in directing the enterprise’s affairs is required.”
Id. at 179, 113 §.Ct. at 1170 (footnote omitted, emphasis in
original). Operation of the enterprise is not limited to its
formal managers or employees because “[a]n enterprise might be
‘operated’ or ‘managed’ by others ‘associated with’ the
enterprise who exert control over it as, for example, by

bribery.” Id. at 184, 133 S.Ct. at 1173. In Aetna the First

Circuit found that defendants who, with the cooperation of two

inside Aetna appraisers, had processed false insurance claims,

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had exercised control over the victim insurance company:
[Defendants] caused the Aetna appraisers to
approve false claims and conduct their
appraisals in a manner contrary to Aetna’s
business practices and caused Aetna to pay
out large sums of money on false claims. The
evidence was sufficient to support a finding
that [defendants] exerted control over the
enterprise, if not by bribery .. . then at
least by other methods of inducement.

Aetna, 43 F.3d at 1560.

Plaintiffs allege that the false inflation of AWPs caused
the third-party payor victim-enterprises to pay more for
prescription drugs than they otherwise would have paid. However,
there is no allegation of infiltration of the third party payors,
of cooperation by insiders, or of inducement of insiders, by
bribery or any other covert means. The reporting of inflated
AWPs to independent trade publications, which in turn resulted in

the payment of inflated drug prices predicated on those prices,

does not constitute “operation or management” of the third-party

payor health programs within the meaning of § 1962(c). ee In re
Smithkline Beecham Clinical Labs., Inc., 108 F. Supp.2d 84, 100
(D. Conn. 1999) (“[A]lthough [defendant’s] alleged fraudulent

billing practices may have victimized the physicians’ offices,
hospitals, and laboratories, that does not suffice to establish
that [defendant] ‘operated or managed’ the affairs of each of
these alleged enterprises.”) (emphasis in original); but see

Liberty Mut. Ins. Co. v. Diamante, 138 F. Supp.2d 47, 61 (D.

